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 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 JAMES R. CONOLLY
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:21-MJ-148-AC
12                                Plaintiff,             STIPULATION FOR EXTENSION OF TIME FOR
                                                         PRELIMINARY HEARING PURSUANT TO RULE
13                          v.                           5.1(d) AND EXCLUSION OF TIME
14   JONATHAN PATRICK TURRENTINE,                        DATE: October 14, 2021
                                                         TIME: 2:00 p.m.
15                                Defendants.            COURT: Hon. Jeremy D. Peterson
16

17          Plaintiff United States of America, by and through its attorney of record, Assistant United States

18 Attorney James R. Conolly, and defendant Jonathan Patrick Turrentine, both individually and by and

19 through his counsel of record, Assistant Federal Defender Mia Crager, hereby stipulate as follows:

20          1.      The Complaint in this case was filed on September 17, 2021, and defendant first appeared

21 before a judicial officer of the Court in which the charges in this case were pending on September 23,

22 2021. The court set a preliminary hearing date of October 7, 2021, which was moved by Order of this

23 Court, based on the joint request of the parties, to October 14, 2021.

24          2.      Mr. Turrentine is out of custody.

25          3.      By this stipulation, the parties now jointly move for an extension of time of the

26 preliminary hearing date to October 21, 2021, at 2:00 p.m., before the duty Magistrate Judge, pursuant to

27 Rule 5.1(d) of the Federal Rules of Criminal Procedure. The parties stipulate that the delay is required to

28 allow the defense reasonable time for preparation, and for the government’s continuing investigation of

      STIPULATION                                        1
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 1 the case. The government anticipates that discovery in this case will be extensive. The parties further

 2 agree that the interests of justice served by granting this continuance outweigh the best interests of the

 3 public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

 4          4.      The parties agree that good cause exists for the extension of time, and that the modest

 5 extension of time would not adversely affect the public interest in the prompt disposition of criminal

 6 cases. Therefore, the parties request that the time between October 14, 2021, and October 21, 2021, be

 7 excluded pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code T-4.

 8          IT IS SO STIPULATED.

 9
     Dated: October 12, 2021                                 PHILLIP A. TALBERT
10                                                           Acting United States Attorney
11
                                                             /s/ JAMES R. CONOLLY
12                                                           JAMES R. CONOLLY
                                                             Assistant United States Attorney
13

14
     Dated: October 12, 2021                                 /s/ MIA CRAGER
15                                                           MIA CRAGER
16                                                           Assistant Federal Defender
                                                             Counsel for Defendant
17                                                           JONATHAN PATRICK
                                                             TURRENTINE
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      STIPULATION                                        2
                 Case 2:21-mj-00148-AC Document 17 Filed 10/13/21 Page 3 of 4


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   Acting United States Attorney
 2 JAMES R. CONOLLY
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:21-MJ-148-AC
12                                 Plaintiff,             [PROPOSED] FINDINGS AND ORDER
                                                          EXTENDING TIME FOR PRELIMINARY
13                          v.                            HEARING PURSUANT TO RULE 5.1(d) AND
                                                          EXCLUDING TIME
14   JONATHAN PATRICK TURRENTINE,
                                                          DATE: October 14, 2021
15                                Defendants.             TIME: 2:00 p.m.
                                                          COURT: Hon. Jeremy D. Peterson
16

17

18          The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing
19 Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on October 12, 2021.

20 The Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,

21 demonstrates good cause for an extension of time for the preliminary hearing date pursuant to

22 Rule 5.1(d) of the Federal Rules of Criminal Procedure.

23          Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests
24 of justice served by granting this continuance outweigh the best interests of the public and the defendant

25 in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would

26 not adversely affect the public interest in the prompt disposition of criminal cases.

27          THEREFORE, FOR GOOD CAUSE SHOWN:
28          1.      The date of the preliminary hearing is extended to October 21, 2021, at 2:00 p.m.

      [PROPOSED] FINDINGS AND ORDER                        1
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 1         2.      The time between October 14, 2021, and October 21, 2021, shall be excluded from

 2 calculation pursuant to 18 U.S.C. § 3161(h)(7)(A).

 3         3.      Defendants shall appear at that date and time before the Magistrate Judge on duty.

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 5         IT IS SO ORDERED.

 6
     Dated:     October 12, 2021
 7                                                          The Honorable Jeremy D. Peterson
                                                            UNITED STATES MAGISTRATE JUDGE
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      [PROPOSED] FINDINGS AND ORDER                     2
